orderFo.-mmwzo@s) Case 1:07-cr-00684 Document 4 Filed 12/18/2007 Page 1 of1
United States District Court, Northern District of Illinois

Name ofAssigned Judge Rebecca R Pallme§;}`lf Sitting Judge if()ther

or Magistrate Judge than Assigned Judgc

 

 

 

 

 

 

 

 

CASE NUMBER 07 CR 684 - 3 DATE 12/18/2007
CASE USA vs. Keith R. Givens
TITLE

DOCKET ENTRY TEXT

 

Arraignment held. Defendant Keith R. Givens enters plea of not guilty to all eounts. l6.l conference to be
held by or on 12/28/2007. Pretrial motions to be filed by or on 1/8/2008. Government’s response to be filed ;
by or on 1/15/2008. Status hearing set for 1/18/20()8 at 9:00. Defendant released on $4500 OR Bond. i
Steven M. Levy appointed for arraignment only. Excludable time to begin pursuant to 18:3161(h)(1)(F). (X-
E)

Dncketing to mail notices

 

 

 

00:09

 

Courtroom Deputy ETV
Inilials:

 

 

 

 

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